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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS 78/8 JUL -1 PM 2: 1h

DALLAS DIVISION
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UNITED STATES OF AMERICA _
Case No. 3:19-CR- 31@

g-19CR-318-5

Vv.

SANJAY NANDA (01)

 

INFORMATION

The United States Attorney charges:

At all times material to the allegations in this information:
A. Introduction

1. Sabre GLBL Inc. (“Sabre”) was in the business of developing and selling
technology-based products and services to the global travel industry. Sabre’s
headquarters was at 3150 Sabre Drive, Southlake, Texas, in the Northern District of
Texas.

2. Sabre’s Accounts Payable Department maintained a general e-mail account to
which invoices from third-party vendors were submitted for payment. This e-mail
account was hosted on a server located in Oklahoma.

3. From on or about July 8, 2010, to on or about October 17, 2015, the defendant,
Sanjay Nanda (“Nanda”), was employed by Sabre as Senior Vice-President of Airline
Solutions. In this position, Nanda had the authority to hire consultants and approve

invoices for payment. Nanda’s office was located at Sabre headquarters.

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4. For at least the period January 1, 2011, through September 30, 2015, Nanda
resided in Irving, Texas, in the Dallas Division of the Northern District of Texas.

5. On or about February 1, 2005, the Secretary of State for the State of Georgia
issued a Certificate of Incorporation to Sadak Ventures, LLC (“Sadak”). The
incorporation records identified the Registered Agent for Sadak as Sanjay Nanda, 4310
Renaissance Way, N.E., Atlanta, Georgia; they also listed the company’s principal
mailing address as 4310 Renaissance Way, N.E., Atlanta, Georgia. In 2008, Sadak was
dissolved for non-payment of fees.

6. In or about June 2010, Nanda wrote a letter to the Georgia Secretary of State
petitioning to have Sadak reinstated as a corporation in good standing in Georgia.

7. On or about December 5, 2011, Nanda opened up Advantage Business Checking
Account No. xxxxxx7489 in the name of Sadak, LLC at a Wells Fargo Bank branch
located in Georgia.

B. The Scheme and Artifice to Defraud

8. Beginning on or about September 1, 201 1, and continuing through on or about
September 30, 2015, in the Dallas Division of the Northern District of Texas, and
elsewhere, the defendant, Sanjay Nanda, knowingly, and with intent to defraud, devised
a scheme and artifice to defraud and to obtain money by means of false and fraudulent
pretenses and representations, and material omissions. The object of the scheme was to
embezzle money from Sabre by creating and submitting for payment invoices from

fictitious vendor Sadak for consulting services that were never performed for or on

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behalf of Sabre, causing Sabre to issue payments to an account under Nanda’s control,
and to use the embezzled money for personal expenses.
C. Manner and Means of the Scheme
9. It was a part of the scheme and artifice to defraud that during the period
beginning on or about September 1, 2011, and continuing through on or about
September 30, 2015, Nanda did, in the Northern District of Texas, and elsewhere:

a. For an unauthorized purpose, and contrary to the best interests of his
employer, create a false and fictitious master services agreement between
Sabre and Sadak under the terms of which Sadak agreed to perform
various consulting services for Sabre in return for payment, signing the
contract on behalf of Sabre and on behalf of Sadak, as V.G., a principal of
Sadak, without authorization.

b. For an unauthorized purpose, and contrary to the best interests of his
employer, create false Sadak invoices claiming the company performed
consulting services work for Sabre during a specified period of time, and
requesting payment of a designated amount for that work.

c. Create the false invoices at his Irving residence, and transport each from
his residence to Sabre headquarters, with the intent and for the purpose of
submitting the invoice for approval and payment through the process used
to approve and pay authentic, valid invoices submitted by authorized third-

party vendors;

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d. For an unauthorized purpose, and contrary to the best interests of his
employer approve the false invoices for payment as if they were authentic,
valid invoices for work performed, intending to mislead any Sabre
employees or agents reviewing the company financial records into
believing that the Sadak invoices was authentic;

e. Directly or through subordinates, submit the approved and fictitious
invoices to Sabre’s Accounts Payable Department, knowing and intending
that employees in this office would enter pertinent data from the invoices
into Sabre’s accounting and payment system; and knowing and intending
that in the normal course of business, Sabre’ saccounting and payment
system would cause ACH payments to be issued from an account at
Citibank, N.A. to Wells Fargo Account No. xxxxxx7489, in the name of
Sadak, in the amount designated on the invoice.

10. It was further a part of the scheme that Nanda concealed material information
from Sabre officials and employees, specifically, that he had created, submitted, and
approved for payment false and fraudulent invoices for work that was not done, and that
the named payee, Sadak Ventures, LLC, was a company over which he exercised sole

control.

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Count One
Wire Fraud
(Violation of 18 U.S.C. § 1343)
11. The United States Attorney hereby adopts, realleges, and incorporates by
reference herein the allegations set forth in the preceding paragraphs of this information.
12. On or about September 11, 2015, in the Dallas Division of the Northern District
of Texas, and elsewhere, defendant, Sanjay Nanda, for the purpose of executing and
carrying out the aforesaid scheme and artifice to defraud, and for obtaining money and
property by means of false material and fraudulent pretenses, representations, and
promises, and attempting to do so, did knowingly, and with intent to defraud, cause to be
transmitted in interstate commerce by means of wire and radio communication, certain
writings, signs, signals and sounds, specifically, instructions to pay $249,900.00 to a
Wells Fargo Bank account in the name of Sadak LLC, originating from a computer
located in Southlake, Texas, on or about this date, and sent to an e-mail account hosted

on a server in Oklahoma.

In violation of 18 U.S.C. § 1343.

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